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                             UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

  IN RE: WC 717 N HARWOOD PROPERTY LLC §                        CASE NO. 21-10630-tmd
  Debtor                               §                        CHAPTER 11

  PROCEEDING MEMO - § 341 MEETING on September 7, 2021, at 11:00 a.m.

  1.     Disclosure statement filed by attorney for debtor pursuant to 11 U.S.C. § 329 and
         Bankruptcy Rule 2016(b): ___Yes __X_NO

  2.     Debtor appeared

  3.     Counsel for debtor appeared

  4.     Meeting adjourned to September 23, 2021, at 11:00 a.m.

  5.     Notes of Presiding Officer

  Items requested by September 21, 2021 or sooner:
  Schedules and statements
  Equity list
  Tax returns for 2019 and 2020, including K-1.
  Financial statements 2019 through the present
          Sources and uses of cash
          Balance sheet from 2018 to present
  Corporate resolution
  Pre petition bank accounts closed or motions to continue use of prepetition bank accounts filed.
  Proof of DIP account, including voided paper check.
  Rent rolls, including subleases
  Documentation identifying who owns, maintains, and controls walkways.
  Copy of property management Agreement with Colliers
  Copy of CBRE leasing agreement
  Copy of agreement with WCRE-asset management agreement, insurance, taxes, lease rates
  Application to be employed for Worley
  UST Guidelines
  Books and records for debtor
  FJR application to employ corrections to disclosures on retainer and file disclosures required by Rule
  2016 and Section 329.

  DATE PETITION FILED: August 3, 2021
  BAR DATE: December 6, 2021
  PLUS 90 DAYS: November 1, 2021

  RETURNED NOTICES: None known at this time.

  CREDITORS' COMMITTEE FORMED: Not at this time.

                                                        /s/ Deborah A. Bynum
                                                        Presiding Officer

  (REV. 07/29/98)
